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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


                                                     03-md-1570 (GBD)(SN)
 In re Terrorist Attacks on September 11, 2001
                                                     ECF Case


This Document relates to:
Burnett, et al. v. Al Baraka Inv. & Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)


  [PROPOSED] DEFAULT JUDGMENT AGAINST THE TALIBAN FOR SOLATIUM
                 CLAIMS ARISING UNDER 18 U.S.C. § 2333

       Upon consideration of the evidence and arguments submitted by Plaintiffs in Burnett, et

al. v. Al Baraka Inv. & Dev. Corp., et al., Case No. 03-cv-9849 (GBD)(SN), whose claims arise

from the terrorist attacks on September 11, 2001, and the Judgment by Default for liability only

against inter alia The Taliban entered on April 7, 2006 in this Multi-District Litigation (ECF No.

1756), together with the entire record in this case, it is hereby:

       ORDERED that this Court possesses personal jurisdiction over Defendant The Taliban by

virtue of its conduct supporting the terrorist activities of Al-Qaeda including but not limited to the

Terrorist Attacks on September 11, 2001 which involved terrorist attacks conducted on American

soil in New York, Pennsylvania, and Virginia;

       ORDERED that this Court possesses subject-matter jurisdiction under the ATA as

thousands of United States nationals were injured by reason of the terrorist attacks on September

11, 2001 which constituted acts of international terrorism resulting in significant harm including

injury and death;

       ORDERED that the prior judgments entered against the Islamic Republic of Iran and

certain of its agencies and instrumentalities be extended against The Taliban as jointly and

severally liable for the compensatory damages amounts previously awarded to the Burnett Moving
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Plaintiffs set forth on Exhibit B-1 who are immediate family members (or the functional

equivalents of immediate family members) of individuals who were killed in the terrorist attacks

on September 11, 2001 under the civil-damages provision of the Anti-Terrorism Act (“ATA”), 18

U.S.C. § 2333(a); and it is

         ORDERED that the Plaintiffs set forth on Exhibit B-2 to this Order be awarded solatium

damages in the amounts previously awarded by this Court in similar actions arising out of the

terrorist attacks on September 11, 2001: specifically that solatium damages of $12,500,000 per

spouse, $8,500,000 per parent, $8,500,000 per child, and $4,250,000 per sibling, be awarded to

the Plaintiffs set forth on Exhibit B-2 according to the values set forth therein under the ATA; and

it is

         ORDERED that the compensatory-damages judgments for the ATA Plaintiffs set forth on

Exhibits B-1 and B-2 be trebled in accordance with the mandatory provision of the ATA that

provides that successful plaintiffs in an ATA action “shall recover threefold the damages he or she

sustains and the cost of suit, including attorney’s fees”; and it is

         ORDERED that the ATA Plaintiffs set forth on Exhibits B-1 and B-2 be awarded

prejudgment interest at the rate of 4.96%, compounded annually, from September 11, 2001 through

the date of the judgment entered in the amount of $____________________; and it is

         ORDERED that Plaintiffs identified in Exhibits B-1 and B-2 may submit an application

for punitive damages or other damages (to the extent such awards have not previously been

ordered) at a later date consistent with any future rulings made by this Court on this issue, and it

is

         ORDERED that the ATA Plaintiffs set forth on Exhibit C to the Eubanks Declaration may

submit additional motions seeking recognition as the functional equivalents of immediate family



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members of individuals who were killed in the terrorist attacks on September 11, 2001 that would

justify the award of solatium damages at a later time; and it is

       ORDERED that any default judgment issued by this Court against The Taliban as a

Defendant in this MDL is not binding on the determination of damages for any other Defendant

within this MDL.

       Furthermore, the Court respectfully directs the Clerk of the Court to terminate the motion

at ECF No. 9548 in 03-MDL-1570 (GBD)(SN) and ECF No. 1122 in 03-cv-9849 (GBD)(SN).

Dated: New York, New York                             SO ORDERED:
________________, 2024

                                                      ______________________________
                                                      GEORGE B. DANIELS
                                                      United States District Judge




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